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                                                                                                SUPPRESSED
                                               UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF MISSOURI
                                                     EASTERN DIVISION                             lFBlED
                 UNITED STATES OF AMERICA,                        )                           JUN -7 2018
                                                                  )                          USTE.S.ROISTRICT COURT
                                                                                           EA      N DISTRICT OF MO
                                Plaintiff,                        )                                ST. LOUIS
                                                                  )
                 v.                                               )
                                                                  )     No.
                 LEAMAN GEORGE CREWS Ill,                         )
                                                                  )
                                Defendant.                        )
                                                                  )
                                                                         4:18CR480 HEA/NAB
                                                                  )

                                                         INDICTMENT

                The Grand Jury charges that:

                                                       COUNTSI-V
                                                WIRE FRAUD: 18U.S.C.§1343

                                                        INTRODUCTION

                       1.      Brewer Science Incorporated (hereinafter "BSI") is a technology company that

                develops and manufactures semiconductors and microelectronic devices with its headquarters

                located in Rolla, Missouri, in the Eastern District of Missouri.

                       2.      The defendant, LEAMAN GEORGE CREWS III (hereinafter "Crews"), was

                hired by BSI to be the Director oflnformation Systems on or about November 19, 2001. As

                part of his employment, defendant Crews was responsible for purchasing software and computer

                equipment on behalf ofBSI. In order to purchase software equipment for the company,

                defendant Crews was given a BSI company credit card.

                       3.      BSI company policy required an expense report be submitted for each charge

                made to the BSI credit card.
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                  4.     ·Defendant Crews established an account through PayPal in his name (hereinafter

           "Leaman Crews PayPal account") and connected the BSI company credit card to that PayPal

           account.

                  5.     Defendant Crews established a second account through PayPal in the name of his

           elderly neighbor, W.F. (hereinafter W.F. PayPal account). Further, defendant Crews established

           an email account through Google in the name Mac Store Los Angeles at gmail.com, which was

           connected to the W.F. PayPal account in order to falsely represent this PayPal account belonged

           to a true vendor of software and computer equipment to BSI.

                  6.     On or about August 24, 2017, Crews' employment with BSI was terminated.

                                                    THE SCHEME

                  9.     From on or about May 2, 2008 to on or about August 11, 201 7, the relevant time

           period, defendant Crews devised and intended to devise a scheme to defraud BSI, and to obtain

           money and property by means of materially false and fraudulent pretenses, representations and

           promises.

                                              MANNER AND MEANS

                  It was part of the scheme that:

                  10.    During the relevant time period, defendant Crews knowingly charged the BSI

           company credit card for fictitious purchases of software and computer equipment.

                  11.    It was part of the scheme that, rather than using the BSI credit card to purchase

           software and computer equipment for BSI, defendant Crews knowingly used the BSI credit card

           to fund transfers from the Leaman Crews PayPal account to the W.F. PayPal account.

                  12.    It was further part of the scheme that after creating such wire transfers, defendant

           Crews would provide false and fraudulent "expense reports" to BSI purportedly justifying the
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use of the BSI credit card to fund transfers to the W.F. PayPal account. As part of the false and

fraudulent "expense reports", defendant Crews submitted PayPal records reflecting funds

transfers to the Mac Store Los Angeles Gmail account associated with the W.F. PayPal account.

Said transfers included the following:

               a.     On November 1, 2008, defendant Crews charged $435.00 to the BSI credit

               card for a wire transfer made from the Leaman Crews PayPal account to the W.F.

               PayPal account and submitted a record of the PayPal payment to BSI.
                                                                     --            \_

               b.     On May 4, 2009, defendant Crews charged $1,845.00 to the BSI credit

               card for a wire transfer made from the Leaman Crews PayPal account to the W.F.

               PayPal account and submitted a record of the PayPal payment to BSI.

               c.     On February 2, 2010, defendant Crews charged $1,745.00 to the BSI

               credit card for a wire transfer made from the Leaman Crews PayPal account to the

               W.F. PayPal account and submitted a record of the PayPal payment to BSI.

               d.     On December 7, 2011, defendant Crews charged $1,960.00 to the BSI

               credit card for a wire transfer made from the Leaman Crews PayPal account to the

               W.F. PayPal account and submitted a record of the PayPal payment to BSI.

               e.     On March 1, 2012, defendant Crews charged $1,925.00 to the BSI credit

               card for a wire transfer made from the Leaman Crews PayPal account to the W.F.

               PayPal account and submitted a record of the PayPal payment to BSI.

               f.     On March 1, 2013, defendant Crews charged $1,900.00 to the BSI credit

               card for a wire transfer made from the Leaman Crews PayPal account to the W.F.

               PayPal account and submitted a record of the PayPal payment to BSI.

       13.     It was further part of the scheme that, in truth and in fact, none of these above-
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. .,

       referenced PayPal payments corresponded to legitimate purchases made on behalf ofBSI.

              14.       It was further part of the scheme that in reliance upon the false and fraudulent

       "expense reports" submitted by defendant Crews, BSI would pay the balance on defendant

       Crews' BSI credit card.

              15.       It was further part of the scheme that between May 2, 2008 and August 11, 2017,

       defendant Crews submitted false and fraudulent "expense reports" to BSI related to 1,617

       fraudulent wire transfers in the manner described above, totaling at least $1,851,520.

              16.       Subsequent to performing the 1, 617 fraudulent wire transfers, defendant Crews

       caused additional wire transfers between various PayPal and bank accounts ultimately using the

       BSI funds for personal expenditures unrelated to the legitimate BSI business, including cash

       withdrawals and personal credit card purchases.

              17.       On or about each of the dates set forth below, in the Eastern District of Missouri,

       the defendant,

                                        LEAMAN GEORGE CREWS III

       for the purpose of executing the scheme described above, caused to be transmitted by means of

       wire communication in interstate commerce the signals and sounds described below for each

       count, each transmission constituting a separate count:

              COUNT                DATE                        WIRE TRANSACTION

              I             October 21, 2013       $1,875.00 charge to the BSI credit card for a wire
                                                   transfer made from Leaman Crews PayPal
                                                   account to W.F. PayPal account
              II            August 31, 2014        $1,985.00 charge to the BSI credit card for a wire
                                                   transfer made from Leaman Crews PayPal
                                                   account to W.F. PayPal account
              Ill           May 15, 2015           $1,990.00 charge to the BSI credit card for a wire
                                                   transfer made from Leaman Crews PayPal
                                                   account to W.F. PayPal account
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              IV           October 4, 2016        $1,980.00 charge to the BSI credit card for a wire
                                                  transfer made from Leaman Crews PayPal
                                                  account to W.F. PayPal account
              v            March 2, 2017          $1,975.00 charge to the BSI credit card for a wire
                                                  transfer made from Leaman Crews PayPal
                                                  account to W.F. PayPal account


       All in violation of, and punishable under, Title 18, United States Code, Section 1343.


                                          FORFEITURE ALLEGATION

       The Grand Jury further finds by probable cause that:

               1.      Pursuant to Title 18, United States Code, Sections 98l(a) and Title 28, United

       States Code, Section 246l(c), upon conviction of an offense in violation of Title 18, United States

       Code, Section 1343 as set forth in Count(s) I-X, the defendant shall forfeit to the United States of

       America any property, real or personal, constituting or derived from any proceeds traceable to such

       violations.

              2.       Subject to forfeiture is a sum of money equal to the total value of any property,

       real or personal, constituting or derived from any proceeds traceable to said violations, the amount

       of which is at least $1,851,520.

              3.      Specific property subject to forfeiture includes, but is not limited to, the following:

                      a. Real Propert)r known as 436 Holly Lane, St. James, MO 65559, Parcel #71-02-
                         4.0-20-004-001-003.004;

              4.       If any of the property described above, as a result of any act or omission of the

       defendant:

                      a.      cannot be located upon the exercise of due diligence;

                      b.      has been transferred or sold to, or deposited with, a third party;

                      c.      has been placed beyond the jurisdiction of the court;
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                                d.        has been substantially diminished in value; or

                                e.      has been commingled with other property which cannot be divided

                                        without difficulty,

                 the United States of America will be entitled to the forfeiture of substitute property pursuant to

                 Title 21, United States Code, Section 853(p).




                                                                       A TRUE BILL.


                                                                       FOREPERSON




                 JEFFREY B. JENSEN
                 United States Attorney



                 Lindsay McClure-Hartman - 66070MO
                 Assistant United States Attorney
